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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF GEORGIA
 Fill in this information to identify your case:
 Debtor 1               David Shenolf Hannah
                              First Name            Middle Name                     Last Name
 Debtor 2                                                                                                              Check if this is an amended plan.
 (Spouse, if filing)          First Name            Middle Name                     Last Name


 Case number                  18-10492
 (If known)




                                                                         Chapter 13 Plan and Motion
     [Pursuant to Fed. R. Bankr. P. 3015.1, the Southern District of Georgia General Order 2017-3 adopts this form in lieu of the Official Form 113].


1.            Notices. Debtor(s) must check one box on each line to state whether or not the plan includes each of the following items. If an item
              is checked as not being contained in the plan or if neither or both boxes are checked, the provision will be ineffective if set out in
              the plan.

              (a)           This              contains nonstandard provisions. See paragraph 15 below.
                            plan:             does not contain nonstandard provisions.

              (b)           This              values the claim(s) that secures collateral. See paragraph 4(f) below.
                            plan:             does not value claim(s) that secures collateral.

              (c)           This              seeks to avoid a lien or security interest. See paragraph 8 below.
                            plan:             does not seek to avoid a lien or security interest.

2.            Plan Payments.

              (a)          The Debtor(s) shall pay to the Chapter 13 Trustee (the “Trustee”) the sum of $582.00 for the applicable commitment period of:

                               60 months: or

                               a minimum of 36 months. See 11 U.S.C. § 1325(b)(4).


              (b)          The payments under paragraph 2(a) shall be paid:

                               Pursuant to a Notice to Commence Wage Withholding, the Debtor(s) request(s) that the Trustee serve such Notice(s) upon the
                                Debtor's(s') employer(s) as soon as practicable after the filing of this plan. Such Notice(s) shall direct the Debtor's(s')
                                employer(s) to withhold and remit to the Trustee a dollar amount that corresponds to the following percentages of the
                                monthly plan payment:

                                             Debtor 1                %   Debtor 2       %

                               Direct to the Trustee for the following reason(s):
                                          The Debtor(s) receive(s) income solely from self-employment, Social Security, government assistance, or
                                           retirement.
                                          The Debtor(s) assert(s) that wage withholding is not feasible for the following reason(s):


              (c)          Additional Payments of $0 (estimated amount) will be made on               ,   (anticipated date) from (source, including income tax
                           refunds).

3.            Long-Term Debt Payments.

              (a) Maintenance of Current Installment Payments. The Debtor(s) will make monthly payments in the manner specified as follows on the
                  following long-term debts pursuant to 11 U.S.C. § 1322(b)(5). These postpetition payments will be disbursed by either the Trustee or
                  directly by the Debtor(s), as specified below. Postpetition payments are to be applied to postpetition amounts owed for principal,
                  interest, authorized postpetition late charges and escrow, if applicable. Conduit payments that are to be made by the Trustee which


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                   become due after the filing of the petition but before the month of the first payment designated here will be added to the prepetition
                   arrearage claim.

                                                                  PAYMENTS TO
                                                                  MADE BY                                                                   INITIAL
                                                  PRINCIPAL       (TRUSTEE OR                     MONTH OF FIRST POSTPETITION               MONTHLY
 CREDITOR              COLLATERAL                 RESIDENCE (Y/N) DEBTOR(S))                      PAYMENT TO CREDITOR                       PAYMENT
 -NONE-

             (b) Cure of Arrearage on Long-Term Debt. Pursuant to 11 U.S.C. § 1322(b)(5), prepetition arrearage claims will be paid in full through
                 disbursements by the Trustee, with interest (if any) at the rate stated below. Prepetition arrearage payments are to be applied to
                 prepetition amounts owed as evidenced by the allowed claim.

                                                                                                                                   INTEREST RATE ON
                                          DESCRIPTION OF                      PRINCIPAL RESIDENCE      ESTIMATED AMOUNT            ARREARAGE (if
 CREDITOR                                 COLLATERAL                          (Y/N)                    OF ARREARAGE                applicable)
 -NONE-

4.           Treatment of Claims. From the payments received, the Trustee shall make disbursements as follows unless designated otherwise:
             (a)     Trustee’s Fees. The Trustee percentage fee as set by the United States Trustee.

             (b)           Attorney’s Fees. Attorney’s fees allowed pursuant to 11 U.S.C. § 507(a)(2) of $4,500.00.

             (c)        Priority Claims. Other 11 U.S.C. § 507 claims, unless provided for otherwise in the plan will be paid in full over the life of the
              plan as funds become available in the order specified by law.

             (d)           Fully Secured Allowed Claims. All allowed claims that are fully secured shall be paid through the plan as set forth below.

                                          DESCRIPTION OF
 CREDITOR                                 COLLATERAL                          ESTIMATED CLAIM          INTEREST RATE               MONTHLY PAYMENT
 Aarons Rent To Own                       Living room furniture                             $400.00    4.00%                                     $7.37
 Exeter Finance Corp.                     Chevrolet Impala                               $14,327.61    4.00%                                   $263.86
 Jefferson County Tax                     1976 Guerdon Statler                            $1,000.00    0.00%                                    $16.67
 Commissioner                             2100
 TitleMax                                 Nissan Frontier                                  $3,156.08 4.00%                                                     $58.12

             (e)           Secured Claims Excluded from 11 U.S.C. § 506 (those claims subject to the hanging paragraph of 11 U.S.C. § 1325(a)).
                           The claims listed below were either: (1) incurred within 910 days before the petition date and secured by a purchase money
                           security interest in a motor vehicle acquired for the personal use of the Debtor(s), or (2) incurred within 1 year of the petition date
                           and secured by a purchase money security interest in any other thing of value. These claims will be paid in full under the plan
                           with interest at the rate stated below:

                                          DESCRIPTION OF
 CREDITOR                                 COLLATERAL                          ESTIMATED CLAIM          INTEREST RATE               MONTHLY PAYMENT
 -NONE-

             (f)           Valuation of Secured Claims to Which 11 U.S.C. § 506 is Applicable. The Debtor(s) move(s) to value the claims partially
                           secured by collateral pursuant to 11 U.S.C. § 506 and provide payment in satisfaction of those claims as set forth below. The
                           unsecured portion of any bifurcated claims set forth below will be paid pursuant to paragraph 4(h) below. The plan shall be
                           served on all affected creditors in compliance with Fed. R. Bankr. P. 3012(b), and the Debtor(s) shall attach a certificate of
                           service.

                                          DESCRIPTION OF                      VALUATION OF
 CREDITOR                                 COLLATERAL                          SECURED CLAIM            INTEREST RATE               MONTHLY PAYMENT
 -NONE-

             (g)           Special Treatment of Unsecured Claims. The following unsecured allowed claims are classified to be paid at 100%

                                                           with interest at     % per annum; or   without interest:
                            None




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             (h)`          General Unsecured Claims. Allowed general unsecured claims, including the unsecured portion of any bifurcated claims
                           provided for in paragraph 4(f) or paragraph 9 of this plan, will be paid a 100.00% dividend or a pro rata share of $0.00,
                           whichever is greater.

5.           Executory Contracts.
             (a)     Maintenance of Current Installment Payments or Rejection of Executory Contract(s) and/or Unexpired Lease(s).

                                          DESCRIPTION OF
                                          PROPERTY/SERVICES                                                                   DISBURSED BY
 CREDITOR                                 AND CONTRACT                  ASSUMED/REJECTED        MONTHLY PAYMENT               TRUSTEE OR DEBTORS
 -NONE-

             (b)           Treatment of Arrearages. Prepetition arrearage claims will be paid in full through disbursements by the Trustee.

 CREDITOR                                                                        ESTIMATED ARREARAGE
 -NONE-

6.           Adequate Protection Payments. The Debtor(s) will make pre-confirmation lease and adequate protection payments pursuant to 11 U.S.C.
             § 1326(a)(1) on allowed claims of the following creditors: Direct to the Creditor; or To the Trustee

 CREDITOR                                                                        ADEQUATE PROTECTION OR LEASE PAYMENT AMOUNT
 Exeter Finance Corp.                                                            $38.25
 TitleMax                                                                        $24.00

7.           Domestic Support Obligations. The Debtor(s) will pay all postpetition domestic support obligations direct to the holder of such claim
             identified here. See 11 U.S.C. § 101(14A). The Trustee will provide the statutory notice of 11 U.S.C. § 1302(d) to the following
             claimant(s):

 CLAIMANT                                                                        ADDRESS
 -NONE-

8.           Lien Avoidance. Pursuant to 11 U.S.C. § 522(f), the Debtor(s) move(s) to avoid the lien(s) or security interest(s) of the following
             creditor(s), upon confirmation but subject to 11 U.S.C. § 349, with respect to the property described below. The plan shall be served on all
             affected creditor(s) in compliance with Fed. R. Bankr. P. 4003(d), and the Debtor(s) shall attach a certificate of service.

 CREDITOR                                                  LIEN IDENTIFICATION (if known)            PROPERTY
 Advance Loan Service                                                                                All collateral
 Delta Finance                                                                                       All collateral
 National Finance Company                                                                            All collateral
 Service Loan                                                                                        All collateral
 World Finance                                                                                       All collateral

9.           Surrender of Collateral. The following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown below
             upon confirmation of the plan. The Debtor(s) request(s) that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated
             as to the collateral only and that the stay under 11 U.S.C. § 1301 be terminated in all respects. Any allowed deficiency balance resulting
             from a creditor’s disposition of the collateral will be treated as an unsecured claim in paragraph 4(h) of this plan if the creditor amends its
             previously-filed, timely claim within 180 days from entry of the order confirming this plan or by such additional time as the creditor may
             be granted upon motion filed within that 180-day period.

 CREDITOR                                                  DESCRIPTION OF COLLATERAL                 AMOUNT OF CLAIM SATISFIED
 1st Franklin Financial                                    Chevrolet Impala                          In full satisfaction

10.          Retention of Liens. Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided by11 U.S.C §
             1325(a)(5).

11.          Amounts of Claims and Claim Objections. The amount, and secured or unsecured status, of claims disclosed in this plan are based upon
             the best estimate and belief of the Debtor(s). An allowed proof of claim will supersede those estimated claims. In accordance with the
             Bankruptcy Code and Federal Rules of Bankruptcy Procedure objections to claims may be filed before or after confirmation.

12.          Payment Increases. The Debtor(s) will increase payments in the amount necessary to fund allowed claims as this plan proposes,after
             notice from the Trustee and a hearing if necessary, unless a plan modification is approved.

13.          Federal Rule of Bankruptcy Procedure 3002.1. The Trustee shall not pay any fees, expenses, or charges disclosed by a creditor pursuant

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             to Fed. R. Bankr. P. 3002.1(c) unless the Debtor's(s') plan is modified after the filing of the notice to provide for payment of such fees,
             expenses, or charges.

14.          Service of Plan. Pursuant to Fed. R. Bankr. P. 3015(d) and General Order 2017-3, the Debtor(s) shall serve the Chapter 13 plan on the
             Trustee and all creditors when the plan is filed with the court, and file a certificate of service accordingly. If the Debtor(s) seek(s) to limit
             the amount of a secured claim based on valuation of collateral (paragraph 4(f) above), seek(s) to avoid a security interest or lien (paragraph
             8 above), or seek(s) to initiate a contested matter, the Debtor(s) must serve the plan on the affected creditors pursuant to Fed. R. Bankr. P.
             7004. See Fed. R. Bankr. P. 3012(b), 4003(d), and 9014.

15.          Nonstandard Provisions. Under Fed. R. Bankr. P. 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
             provision not otherwise in this local plan form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

             (a) All secured claims to be paid 4.00% interest, unless otherwise stated herein.

             (b) The 1999 Nissan Frontier, the title of which is held by TitleMax or which is in the possession of TitleMax under a pawn contract, is
             hereby redeemed by Debtor(s). Debtor(s) shall redeem the vehicle by paying the debt in full through the Chapter 13 Plan. Debtor’s
             (Debtors’) redemption pursuant to this paragraph shall constitute an affirmative finding that the grace period for redemption has not
             expired; that the vehicle is property of the estate; and that any adequate protection payments, in conjunction with any actual or proposed
             post-confirmation payments, shall constitute appropriate affirmative steps to redeem.

             (c) Upon completion of all payments and/or granting of a discharge in this case, all secured creditors that were paid through the plan,
             excluding any long-term debt paid pursuant to Paragraph 2(d) hereof, shall promptly release all collateral held as security on loans, and
             shall promptly release and/or satisfy all security deeds, security agreements, UCC filings, judgment liens, titles, and/or any other lien or
             claim of any kind against property of Debtor(s). This paragraph shall not apply to any secured debt that is not paid through Debtor’s
             (Debtors’) Chapter 13 Plan.

By signing below, I certify the foregoing plan contains no nonstandard provisions other than those set out in paragraph 15.

 Dated:       April 16, 2018                                                    /s/ David Shenolf Hannah
                                                                                David Shenolf Hannah
                                                                                                                  Debtor 1


                                                                                                                  Debtor 2

                                                                                /s/ Matthew James Duncan
                                                                                Matthew James Duncan 143397
                                                                                                   Attorney for the Debtor(s)




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